                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff/Respondent,

v.                                                             Case No. 07-20168-04-JWL


Shevel M. Foy,

                     Defendant/Petitioner.

                                 MEMORANDUM & ORDER

       In 2009, a jury convicted defendant Shevel Foy of conspiracy to manufacture, possess with

intent to distribute or to distribute cocaine base and/or cocaine. The court sentenced Mr. Foy to

360 months imprisonment. See id.

       This matter is presently before the court on Mr. Foy’s motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A) (doc. #1912). Mr. Foy has not indicated that he has

satisfied the statute’s exhaustion requirement. See id. (defendant may bring a motion after he has

exhausted administrative appeals of the BOP’s failure to bring a motion on defendant’s behalf or

after the lapse of 30 days from the receipt of such a request by the warden, whichever is earlier).

Accordingly, the motion is dismissed for lack of jurisdiction, without prejudice to the filing of

another motion once Mr. Foy has satisfied the exhaustion requirement.1




1
 Mr. Foy’s deadline to file a reply to the government’s response to his motion was July 6, 2020.
That deadline has passed with no reply filed by Mr. Foy. Nonetheless, Mr. Foy is not prejudiced
by the court’s resolution of the motion without the reply brief, as he may simply refile his motion
once he has exhausted his administrative remedies.
       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Foy’s motion for

compassionate release (doc. 1912) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 13th day of July, 2020, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge




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